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EXHIBIT B
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NYC DEPARTMENT OF FINANCE
OFFICE OF THE CITY REGISTER

This page.is part of the instrument. The City
Register will rely on the information provided
by you on this page for purposes of indexing
this instrument. The information on this page
will control for indexing purposes in the event
of any conflict with the rest of the document.

RECORDING AND ENDORSEMENT COVER PAGE ____ PAGE 1 OF 21|
Document 1D: 2019122600446002 Decument Date: 12-10-2019 Preparation Date: }2-27-2019

Document Type: MORTGAGE
Document Page Count: 20

PRESENTER: RETURN TO:
OMNI TITLE AGENCY OMNI TITLE AGENCY
6800 JERICHO TURNPIKE, SUITE 212E 6800 JERICHO TURNPIKE, SUITE 212E
1904-2972209 1904-2972209
SYOSSET, NY 11791 SYOSSET, NY 1179]
516-621-1100 316-621-1100
GIO@OMNITITLE.COM GIO@OMNITITLE.COM
PROPERTY DATA
Borough Block Let Unit Address
BROOKLYN 1995 34 = Entire Lot 15 JEFFERSON AVENUE

Property Type: DWELLING ONLY - 3 FAMILY

CROSS REFERENCE DATA
-CRFN or DocumendD or Year Reel Page er File Number
PARTIES
MORTFGAGOR/BORROWER: MORTGAGEE/LENDER:
FRALEG JEFFERSON CORP TAM LENDING CENTER, INC.
198 SAINT JAMES PLACE 1814 ROUTE 76 E, SUITE 200
BROOKLYN, NY 11238 CHERRY HILL, NJ G8003
FEES AND TAXES
Mortgage : Piling Fee:
Mortgage Amount: § E.800,900.00 $ 0.00
Taxable Mortgage Amount: | '$ 1,800,900.00 NYC Real Property Transfer Tax:
Exemption: $ 0.00
TAXES: County ¢ Basic). $ 9004.50 NYS Real Estate Transfer Tax:
City (Additional): | § 20,260.13 $ 0.00
Spec (Additional): S 0.00. RECORDED OR FILED IN THE OFFICE
a 2 $e | agit sae OF THE CITY REGISTER OF THE
oe = a # eno, CITY OF NEW YORK
NYCTA: s G.00 a i wf ': R di Fil d fl. ( 27 .
Additional MRT: |S 6.00 a Te Cc Recisier FileNo(CREY
__IOTAL: |S 39,160.58 ee ene No $520000003404
Recording Fee: $. 137.00 .
Affidavit Fee: 8 0.00
City Register Official Signature

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RECORDING REQUESTED BY
AND WHEN RECORDED MAIL TO:

[ }
[ j

(spacé above this line for recorder 's use only)

Fraleg Jefferson Corp,, a NY Corporation, as grantor
{Grantor}

in favor of

TAM LENDING CENTER, INC., STATE OF NEW JERSEY CORPORATION, as beneficiary
(TAM Lending Center, Inc.)

DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS,
SECURITY AGREEMENT AND FIXTURE FILING

Dated: Executed as of December 10,2019 for delivery as of
December 16, 2019

THIS SECURITY INSTRUMENT JS TO BE INDEXED AS BOTH A DEED OF TRUST AND A
FIXTURE FILING FILED AS A FINANCING STATEMENT.

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DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS,
SECURITY AGREEMENT AND FIXTURE FILING

This Deed of Trust, Assignment-of Leases and Rents, Security Agreement and Fixture Piling (this “Deed
of Trust”) is executed as of December 10, 2019 for detivery as of December 10, 2019, by Fraleg
Jefferson Corp.,a N¥ Corporation (“Grantor™}, having a mailing address of 198 Saint James Piace
Brooklyn, NY 11238

in faver of

TAM LENDING CENTER, INC, (Lender), a NJ Corporation, having a mailing
address of 1814 Route 70 E, Suite 200 Cherry Hiil; NJ 08003

RECITALS;

WHEREAS, Grantor has executed and delivered'to TAM Lending Center, Inc, its
promissory note dated this date (“Note”), payable to. the order of TAM Lending Center, Inc. in the stated
principa! sum of One Million Fight Hundred Thousand Nine Hundred Dollars and 00/100
($1,800,900) (the “Ieoan”), payable with interest and on-the terms and conditions set forth therein, ali of
which are incorporated herein by reference. Grantor and TAM Lending Center, Inc. have executed a loan
agreement dated this date (“Loan Agreement”}, pursuant tothe terms of which TAM Lending Center, Inc.
has. agreed to make the Loan to Grantor under the terms and conditions set forth therein, al] of which are
incorporated herein by reference. The Loan Agreement, the Note, this Deed of Trust, and any other
document executed and delivered-in connection with the Loan including, without limitation, any guaranty
of, and any other coflateral securing any of, Grantor’s obligations under any of the Loan Documents are
sometimes individually referred to herein as a “Loan Document” and collectively as the “Loan
Documents”,

NOW THIS DEED OF TRUST WITNESSETH, to secure the payment of the said
indebtedness with interest as-aforesaid and otherwise in accordance with the terms and conditions of the
Note and all extensions, modifications and renewals thercof and the performance of the covenants and
agreements contained herein, together with al! ather sums recoverable by TAM Lending Center, Inc.
under the terms.of the Loan Documents, together with all existing and future liabilities of Grantor to
TAM Lending Center, Inc. under the i.oan, Documents or otherwise (said indebtedness, interest-and all
other sums and liabilities are hereinafter collectively referred to-as the “Agerenate Debt”), and as security.
for the due and timely performance by Grantor of ail of the other provisions ofthe Loan Documents, and
intending: to be legally bound hereby, and in consideration therefor, Grantor hereby GRANTS,
BARGAINS, SELLS, ALIENATES, ENFEOFFS, CONVEYS, ASSIGNS, TRANSFERS, RELEASES,
PLEDGES, and MORTGAGES to Trustee, in trust for the benefit of TAM Lending Center, Inc., all that
certain real property, as more fully described in Exhibit A attached hereto and made a part hereof (the
“Real Property”; the Real Property and any other collateral securing any of Grantor’s obligations under
any of the Loan Documents are hereinafter-referred to collectively a3 the “Collateral”);

_ TOGETHER WITH all right, title, and interest-of Grantor in and to the following
property rights and interests, which Grantor hereby. assigns 10 Trustee for the benefit of TAM Lending
Ceater, Inc, until the Aggregate Debt is paid (the Reai Property together with the following propery —
being hercinafter collectively called the “Morteaped Property”):

‘This Agreement covers red’ property principally improved, or ta
be improved, by one or more structures containing, in the

ageyeqate, nat more than six (6) resideritial dwelling units with

ea dy diving uadhoving its ovm separate cooking faciiias, =~ STANDARD DOC SET TEMPLATE -Secunig femme

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(a) all buildings and other improvements now. or hereafter located on the Real
Property (“Improvements”);

(b) all streets, lanes, alleys, passages, ways, water courses, easements, rights,
liberties, privileges, tenements, hereditaments and appurtenances whatsoever thereunto belonging to or in
any way made appurtenant hereafter, and the reversions and remainder, with respect thereto

(“Appurtenances”);

(c) all machinery, apparatus, equipment, furniture, furnishings, fixtures, inventory,
goods, appliances, and other property of every kind and nature whatsoever, together with replacements
thereof and accessories, parts or accessions thereto, owned by Grantor or in which Grantor has or shall
have an interest, and whether or not now or hereafter located .on the Real Property, and any and ail
proceeds of any of the foregoing (“Equipment”);

(d) all building materials, building machinery and building equipment delivered on
site to the Real Property during the course of, or in connection with, the construction of, or reconstruction
of, or remodeling of any building and improvements from time to time during the term of this Deed of

Trust (“Building Equipment”);

{e) all general intangibles relating to the development or use of the Real Property,
including, but not limited to, all licenses, permits and agreements from or with all boards, agencies,
departments, public utilities, governmental or otherwise, all names under which or by which the Real
Property or Improvements may at any time be operated or known and all rights. to carry on business under
any such names.or any variations thereof, all trademarks and goodwill in any way relating to the Real
Property, all shares of stock or other evidence of ownership of any part.of the Real Property owned by
Grantor in common with others, and all documents of membership in any owners or members association
or similar group having responsibility for managing of operating any portion or all of the Real Property
(“Intangibles”);

(H all awards or payments, including imerest thereon, which may be made with
respect to the Real Property and Improvements, whether from the exercise of the right of eminent domain
(including any transfer made in lieu of the exercise of said right), or for any other injury to or decrease in
the value of the Real Property or Improvements including, without limitation, all awards or payments.of
estimated compensation, al! damages ta the Real Property or Improvements resulting from any taking, all
machinery and equipment dislocation expenses, all settlemerit amounts, all apportionments of taxes,
reimbursement of attorneys and engineers fees, all moving expenses and all business dislocation expenses
(“Awards”);

(g) all insurance policies covering the Real Property or Improvements and all
proceeds of any unearned premiums on any such insurance policies including, without limitation, the right
to receive and apply the proceeds of any insurance, judgments, or-settlements made in lieu thereof, for
damage to the Real-Property or Improvements (“Insurance Policies”);

th) all leases, agreements of sale and other agreements affecting the use or
occupancy of any portion or all of the Real Property or Improvements, whether heretofore or hereafter
executed and all rights to payment under any-such lease or agreement (“Leases and Agreements”);

(i) all rents, receipts, issues, profits and other income of any and ail kinds (including
deposits) received or receivable and due or to become due from the sale or jease of arly property, goods or
materials or from the rendering of services including, but not limited to (3) the lease or sale of all or a
portion of the Real Property or Improvements, or (if) the operation of any income-praducing facility on

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STANDARD DOC SET TEMPLATE — Security lasreament

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the Real Property or Improvements (all of such proceeds, receipts and income are hereinafter referred to
as the “Income.and Rents” and all such rights are hereinafter referred to.as the “Accounts Receivable”);

Gp any securities or guaranties held by Grantor with respect to any of the
Intangibles, Awards, Leases or Accounts Reccivable, and any notes, drafts, acceptances, chattel paper,
documents, or other instruments evidencing the same (“Securities”);

(k) all funds deposited by Grantor with TAM Lending Center, Inc, pursuant to the
Loan Agreement or otherwise, all reserves, deferred payments, deposits, refunds, cost savings and
payments of any kind relating to the Improvements (“Deposits”);

(3 all plans and specifications prepared. for renovations to or construction of the
Improvements and all studies, data and drawings related thereto; and also ali contracts and agreements
relating to the aforesaid plans and specifications or to the aforesaid studies, data and drawings, or to the
renovations to or construction of Improvements (“Plans”);

(m) the right, in the name and on behalf of itself or Grantor, to appear in or defend
any action or proceeding brought with respect to the Real Property or Improvements (including without
limitation, any condemnation or arbitration proceedings} and to commence any action or proceedings to
protect the interest of TAM Lending Center, Ic. in the Real Property and Improvements;

{n) all refunds, rebates or credits in connection with reduction in real estate taxes and
assessments charged against the Mortgaged Property as a result of tax certiorari or any applications or
proceedings for reduction of taxes;

fo) all proceeds of any of the foregoing, including, without limitation, proceeds of
insurance and condemnation awards, whether cash or otherwise (“Proceeds”), and

{p) any and ail-other rights of Grantor in and to the items set forth in subsections (a)
through (0) above.

TO HAVE AND TO HOLD the Mortgaged Property unto Trustee for the benefit of TAM
Lending Center, Inc., its successors and assigns forever. All right, title and interest of Grantor in and to
ail extensions, improvements, betterments, renewals, substitutes and replacements of, and all additions
and appurtenances to the Mortgaged Property hereafter acquired by, or released to, Grantor or
constructed, assembled or placed by Grantor on the Real. Property, and all conversions of the security
constituted thereby, immediately upon such acquisition, release, construction, assembling, placement or
conversion, as the case may be, and in each such case, without any further mortgage, pledge, conveyance,
assignment or other act by Grantor, shall become subject to the lien of this Deed of Trust as fully and
completely, and with the same effect, as though now owned by Grantor and specifically described herein.
Notwithstanding the foregoing, Grantor shail, at its own cost, make, execute, acknowledge, deliver and
record any and all such further acts, deeds, conveyances, mortgages, notices of assignment, transfers,
assurances and other documents as TAM Lending Center, Inc, shall from time to time require for better
assuring, conveying, assigning, transferring and confirming unto TAM Lending Center, Inc. of the
Mortgaged Property and the other rights heréby conveyed or assigned or intended now or hereafter so to
be, or which Grantor may be of may hereafter become bound to convey or assign for carrying out the
intention of facilitating the performance of the terms of this Deed of Trust. In addition, Grantor hereby
agrees that this Deed of Trust is a security agreement under the Uniform Commercial Code and creates in
TAM Lending Center, Inc. a security interest thereunder in, among other things, all Equipment, Building
Equipment, Intangibles, Awards, Insurance Policies, Leases and Agreements, Income and Rents,
Accotints Receivable, Securities, Deposits, Plans and Proceeds. Upon the filing of this Deed of Trust in

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STANDARD DOC SET TEMPLATE ~ Security Instrument

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the office of the recorder of deeds in and for the county where the Real Property is located, this Deed of
Trust shall also be effective as a financing statement filed in such office as a fixture filing. Grantor shall,
at its own cost and expense, execute, deliver and file any financing statements, continuation certificates
and other documents TAM Lending Center, Inc. may require from time to time to perfect and maintain.in
favor of TAM Lending Center, Inc. a security interest under the Uniform Commercial Code in such
Equipment, Building Equipment, Intangibles, Awards, Insurance Policies, Leases and Agreements,
Income and Rents, Accounts Receivable, Securities, Deposits, Plans and Proceeds. Without limiting the
generality of any of the foregoing, Grantor hereby irrevocably appoints TAM Lending Center, Inc.
attorney-in-fact for Grantor to execute, deliver and file any of the documents referred to hereinabove for
and on behalf of Grantor. Grantor shall not change its principal place of business without giving TAM
Lending Center, Inc. at least thirty (30) days’ prior written notice thereof. Grantor hereby irrevocably
authorizes TAM Lending Center, Inc. to prepare and file and/or record, as applicable, new firiancing
statements from Grantor in the same form as the financing statements delivered to TAM Lending Center,
Inc. on the date hereof except for the change of address and unless the standard form accepted by the
State where the Real Property is located or where the Grantor was formed has changed, in which event
such financing statement shall be in the new form. Upon any Event of Default hereunder or under any of
the other Loan Documents, TAM Lending Center, Inc. shall have in addition to any other rights and
remedies hereunder or under the other Loan Documents, all of the rights and remedies granted to a
secured party under the Uniform Commercial Code with respect to ali personal property. To the extent
permitted by law, Grantor agrees that the items set forth on the financing statements shall be treated as
part of the Real Property and Improvements regardless of the fact that such items are set forth on the
financing statements.

PROVIDED ALWAYS, and these presents are upon this express condition, that if
Grantor or its successors or assigns-shall well and-truly pay or cause to be paid unto TAM Lending
Center, Inc.,.its successors or assigns, the Aggregate Debt secured by this Deed of Trust, and otherwise
perform Grantor’s obligations under the Loan Documents, then.this Deed of Trust, and the estate hereby
granted, shall cease, terminate and be void, and TAM Lending Center, Inc, shall furnish to Grantor a
satisfaction of this Deed of Trust in proper form for recording, but TAM Lending Center, Inc. shall not be
required to bear any expense or cost in connection with such satisfaction or the recording thereof.

THIS DEED OF TRUST also secures advances made by TAM Lending Center, Inc. with
respect to the Mortgaged Property for the payment of taxes, assessments, maintenance charges, and
insurance premiums, costs incurred by TAM Lending Center, Inc. for the protection of the Mortgaged
Property or the lien of this Deed of Trust, including reasonable attomeys’ fees, and expenses incurred by
TAM Lending Center, Inc. by reason of the occurrence of an Event of Default hereunder, including
reasonable attorneys’ fees, and the priority of such advances, costs and expenses shall relate back to the
date of this Deed of Trust, or to such later date as required by applicable law.

GRANTOR REPRESENTS AND WARRANTS TO ANB COVENANTS WITH TAM
Lending Center, Inc. and Trustee as follows;

L Title. As of the date hereof (a} Grantor has good and marketable title to an indefeasible
fee simple estate in the Mortgaged Property subject to no lien, charge, or encumbrance except for the
Permitted Encumbrances .(as defined in the Loan Agreement) and for the lien evidenced by this Deed of.
Trust;.(b) this Deed of Trust is and shall remain a valid and enforceable first lien on the Mortgaged
Property subject only to the matters referred to in subsection (a) hereof; (c)-Grantor shall preserve such
title, and all of its rights In and te the Mortgaged Property, and shall forever warrant:and defend the
validity and priority. of the lien hereof against the claims of all persons and entities whomsoever, subject
only to the matters referred to in subsection (a) hereof; and (d) Grantor has full power and lawful

STANDARD DOC SET TEMPLATE -~ Security Instrument

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authority to mortgage the Mortgaged Property and grant a security interest therein in. the manner and form
herein done or intended hereafter to be done.

2. Payment and: Performance. Grantor shail:

(a) punctually pay the Aggregate Debt, in the amounts and at the times and places
that the same may be due, and perform and comply with all of the terms, covenants, conditions and
obligations contained in the Loan Documenis;

(b) pay a late charge in the amount and as otherwise provided in the Loan
Documents to cover the expense involved in handling such late payment; and

{¢) pay on or before the due date thereof any indebtedness which may be secured by
a lien or charge on the Mortgaged Property and upon request of TAM Lending Center, Inc. exhibit
satisfactory evidence of the discharge thereof.

3. Taxes and Other Charges. Subject to the provisions.of Section 5 hereof, Grantor shall
pay all taxes of every kind and nature (including real and personal property, iricome, gross receipts,
franchise, profits, sales and withholding taxes), all general and special assessments, water and sewer rents
and charges, and-all levies, permits, inspection and license fees and other public charges now or hereafter
levied or assessed against. the Mortgaged Property as liens or assessments (hereinafter individually called
a “Tax” -and collectively the “Taxes”) as the same shall become due and payable from time to time and
before interest of penalties accrue thereon; provided, however, that Grantor shall not be required to pay
any Tax to the extent that nonpayment thereof is permitted while the validity thereof is being contested,
so long as (a) Grantor notifies TAM Lending Center, Inc. in writing of its intention to contest the validity
thereof, (b) the validity thereof is being contested in good faith by Grantor, (c) Grantor deposits with
‘TAM Lending Center, Inc. if TAM Lending Center, Inc. so requests an amount deemed sufficient -to make
such payment if the contest is unsuccessful and (d) no Event of Default is continuing nor does there exist
any fact or circumstance which with notice or the passage of time or both could constitute an Event of
Default. Notwithstanding the foregoing, Grantor shall under no circumstances permit the Mortgaged
Property to be sold or advertised for sale for nonpayment of any Tax. Grantor shall not apply for or claim
any deduction from the taxable value of the Mortgaged Property because of the existence of the Note or
this Deed of Trust. Subject to Grantor’s right to contest any Tax as-hereinabove provided, Grantor shall
deliver to TAM Lending Center, Inc. receipts evidencing the payment of such Tax on or before the last
day on which any Tax may be paid without interest or penalties or as soon thereafter as such receipts are
available.

4, Insurance, Grantor shall provide and maintain in force at all times (a) hazard/casualty
insurance insuring all Improvements, Building Equipment and Equipment which now are or hereafter
become a part of the Morigaged Property for perils covered by an all risk insurance policy with an
ordinance or law coverage endorsement containing both replacement costs and agreed amount
endorsements or options naming TAM Lending Center, Inc., as “First Mortgagee and First Loss
Payee/TAM Lending Center, Inc.’s Loss Payable” in an amount equal to 100% of the full replacement
cost; (b) commercial general liability insurance for the Morigaged Property, naming TAM Lending
Center, Inc. as.an additional insured protecting Grantor and TAM Lending Center, Inc. against lability
for bodily injury or property damage occurring in, on or adjacent to the Mortgaged Property in
commercially reasonable amounts, with a combined single limit of not less than One Million Dollars
($1,060,000:08) per occurrence for each person and for property damage: {c) boiler and machinery
insurance if the Mortgaged Property has a boiler; (d) rental value insurance for the perils specified herein
for one hundred percent (100%) of the rents (including operating expenses, real estate taxes, assessments
and insurance costs which are any lessee’s liability) for a period of twelve (12) months; and (e) insurance

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STANDARD DOU SET TEMPLATE -: Security Instrument

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against any other hazards as may be reasonably required by the TAM Lending Center, Inc., including,
without limitation, ordinance and law coverage and insurance against loss and damage by flood if any
portion of the Improvements is located in an area identified as having special flood hazards, in such
amounts as may be determined by TAM Lending Center, Ine..

Any policy or policies with respect to all of the above-mentioned insurance (the “Policy”)
(i). shall be issued by an insurer acceptable to TAM Lending Center, Inc., (ii) shall contain a provision thal
TAM Lending Center, Inc. shall be given thirty (30) days’ prior written notice of material change or
cancellation of said Policy and that no such change or cancellation shall be effective as to TAM Lending
Center, Inc. in the absence of such notice, and (ii) shall contain such other provisions: as shall from time
to time be required by TAM Lending Center, Inc... Any such Policy may provide for customary
“deductibles” provided the limits thereof are satisfactory to TAM Lending Cenier, Inc.. Not less than.
fifteen (15) days’ prior to any date upon which any premium for such insurance shall be due and payable
and subject to the terms of Section 5 hereof, Grantor shall deliver to TAM Lending Center, Inc.
satisfactory evidence that such premium has been paid, and further, not less than fifteen (15) days” prior
to the expiration date of any Policy, Grantor shall deliver to TAM Lending Center, Inc, satisfactory
evidence of the renewal of such Policy. In the event of the foreclosure of the Deed of Trust or other
transfér of Grantor's interest in the Mortgaged Property in satisfaction of the Aggregate Debt, all right,
title and interest of Grantor to any Policy then in force covering the Mortgaged Property shail pass to the
transferee of the Mortgaged Property.

5. Tax and Insurance-Escrow. The Tax and Insurance Escrow Account {as defined in the
Loan Agreement) shall be established as provided in Section 4.1(g)} of the Loan Agreement.

és Casualty Loss.

(a) Grantor shail notify TAM Lending Center, Inc. in writing within five (5) business
days of the cccurrence of any damage to or destruction affecting the Mortgaged Property. Grantor hereby
directs arly insurer to pay directly to TAM Lending Center, Inc. any moneys payable under any Policy,
and Grantor hereby appoints TAM Lending Center, Inc. as attomey-in-fact to endorse any draft therefor.
Sums paid to TAM Lending Center, Inc, by any insurer may be retained and, after deducting therefrom
atiy expenses Incurred in the collection thereof, including without limitation, attomeys’ and expert
witness’ fees and costs, shall be applied as follows:

@ Tn the event such proceeds paid to TAM Lending Center, Inc: in
connection with any single claim for any loss do not exceed five (5%) percent.of the unpaid principal
balance of the Note, and so long as (w) no Event of Default shall be continuing, (x) the Improvements,
Building Equipment and Equipment can, in TAM Lending Center, Inc.’s sole discretion be restored at
least one (1) year prior to the Maturity Date (as defined in the Note), (y) in TAM Lending Center, Inc,’s
judgment upon restoration (A) the vaiue of the Improvements, Building Equipment and Equipment shall
at least equal their value immediately prior to such casualty and (B) the income will be sufficient to cover
operating expenses of the Mortgaged Property and debt service on the Loan with the same debt service
coverage ratio as reasonably determined by TAM Lending Center, Inc. as existed as of the date hereof or
immediately prior to such casualty, whichever js greater, and (z) there are sufficient sums available, as
reasonably determined by TAM Lending Center, Inc., for repairs and restoration and for payments of all
amounts fo become due under the Loan Documents during the repairs and restoration, then TAM Lending
Center, Inc. shall advance outright such proceeds te Grantor, solely for purposes of repairing and
restoring the Improvements, Building Equipment and Equipment: or

ad In the event such proceeds paid to TAM Lending Center, Inc. in
connection with any single claim for any loss exceed five (5%) percent of the unpaid principal balance of

STANDARD DOC SET TEMPLATE » Security Iriserunjent.

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the Note AND do not exceed thirty (30%) percent of the unpaid principal balance of the Note, and so long
as (v) no Event of Default shall be continuing, (x) the Improvements, Building Equipment and Equipment
can, in. TAM Lending Center, Inc.’s sole discretion be restored to at least one (1) year prior to the
Maturity Date (as defined in the Note), (y) in TAM Lending Center, Inc.'s judgment, upon restoration (A)
the value of the Improvements, Building Equipment and Equipment shall at least equal their value
immediately prior to such casualty and (B).the income will be sufficient to cover operating expenses. of
the Mortgaged Property and debt service on the Loan with the same debt service coverage ratio.as
reasonably determined by TAM Lending Center, Inc. as existed as of the date hereof or immediately prior
to such casualty, whichever is greater, and (z) there are sufficient sums available, as reasonably
determined by TAM Lending Center, Inc:, for repairs and restoration and for payments of all amounts to
become due under the Loan Documents during the repairs. and restoration, then TAM Lending Center,
Inc. shall advance. such proceeds to Grantor, in accordance with subsection 6(c) below, solely for
purposes of repairing and restoring the Improvements, Building Equipment and Equipment; or

(iii) ‘In the event the such proceeds paid to TAM Lending Center, Inc. in
connection with any single claim for loss exceed thirty (30%) percent of the unpaid principal balance of
the Note, TAM Lending Center, Inc., in its sole discretion, may apply such proceeds toward payment of
the unpaid principal balance of the Note (whether or not any portion thereof may then be due and
payable) in such priority and proportions as TAM Lending Center, Inc. in its discretion shall deem proper,
and any sums not $o applied, at the discretion of TAM Lending Center, Inc., shall be paid, either in whole
or in part, to Grantor for such purposes and upon such conditions as TAM Lending Center, Inc. shall
designate related to the Mortgaged Property.

{b) Regardless of the cause of the damage or destruction or the availability or
sufficiency of insurance proceeds until all indebtedness secured hereby shall be fully paid, Grantor shall
be obligated to repair, restore, and rebuild any Improvements, Building Equipment and Equipment so
damaged or destroyed. Repair and restoration of the Improvements, Building Equipment and Equipment
shall be commenced promptly after the occurrence of the loss and shall be prosecuted to compiction
diligentiy, the Improvements, Building Equipment and Equipment shall be so restored and rebuilt as to be
of at least equal value and substantially the same character as prior to such damage and destruction. In
the event the estimated costs of rebuilding and restoration exceed twenty-five percent (25%) of the
indebtedness then:-remaining unpaid as secured hereby, the drawings and specifications pertaining to-such
rebuilding and restoration shall be subject to the prior written approval of TAM Lending Center, Inc..

{c} In the event that Grantor is to be reimbursed out of the insurance proceeds for
the costs of repairs and restoration, such procceds shal} be made available from time to time upon the
furnishing to TAM Lending Center, Inc. of satisfactory evidences of the estimated cost of completion
thereof and such.architect’s certificates, waivers of lien, contractor's. sworn statements, and other
evidence of cost and of payment and of the continued priority of the lien hereof over any potential liens of
mechanics:and materialmen as TAM Lending Center, Inc. may require and approve. No payment madé
by TAM Lending Center, Inc. prior to the final completion of the work shall, together with all payments
therétofore made, exceed ninety percent (90%) of the cost of the work performed to the time of payment,
and at all times the undisbursed balance of said proceeds shall be at least sufficient to pay for the cost of
completion of the work free and clear of liens. Any proceeds remaining after payment of the cost of
rebuilding and restoration shall, at the option of TAM Lending Center, Inc., either be applied in reduction
of the indebtedness secured hereby or paid to Grantor.

(dp Should such damage or destruction occur afier foreclosure or sale proceedings
have been instituted, the proceeds of any such insurance policy or policies, if not applied in-rebuilding or
restoration of the Improvements, Building Equipment and Equipment, shall be used to pay the
indebtedness then due and owing in the event of a non-tudicial sale or the amount.due in accordance with

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any decree of foreclosure or deficiency judgment that.may be entered in connection with such
proceedings, and the balance, if any, shall be paid to the owner of the equity of redemption if such owner
shail then be entitled to the same, or otherwise as any court having jurisdiction may direct. Following any
foreclosure sale, or other sale of the Mortgaged Property by TAM Lending Center, Inc. pursuant to the
terms hereof, TAM Lending Center, Inc. is authorized without the consent of Grantor to assign.any and
all insurance policies to the purchaser at the sale and to take such other steps as TAM Lending Center,
Inc. may deem advisable to cause the interests of such purchaser to be protected by any of such insurance

policies.

7. Condemnation, See Section 4.14) of the Loan Agreement for provisions related to
condemnation actions and the treatment of condemnation proceeds.

8. Preservation of Lien; Conveyance of Title.

{a} Grantor shall pay, from time to time as and when the same shall become due, ail
claims and demands of any persons or entities which, if unpaid, might result in or permit the creation of a
lien on the Mortgaged Property or any part thereof, and in general shall do or cause to be. done everything
riecessary so that the lien hereof shalt be fully preserved and so that there shall not be created, permitted
or suffered to exist any lien, encumbrance or charge.affecting the Mortgaged Property other than those
matters referred ta in subsection 1(4) hereof which have been approved in writing by TAM Lending
Center, inc., all at the sole cost of Grantor. At TAM Lending Center, Inc.’s election, and without notice
to Grantor, TAM Lending Center, Inc. may make but is not obligated to make, any payments which
Grantor has failed to make under any prior lien, but such payment by TAM Lending Center, Inc. shall not
release Grantor from Grantor’s obligations or constitute a waiver of ‘Grantor's default hereunder, Any
sum so expended by TAM Lending Center, Inc. shall be secured by this Deed of Trust, together with
interest.thereon at the rate stipulated in.the Note from the date such payment is made by TAM Lending
Center, Inc. until the date of repayment by Grantor. Notwithstanding the foregoing, Grantor shali have
the right, at its sole.cost and expense, to contest in good faith by any lawful means any such claims and
demands, provided that it notifies. TAM Lending Center, Inc. in writing of its intention to do so and
deposits with TAM Lending Center, Inc., if TAM Lending Center, Inc. so requests, an amount deemed
sufficient by TAM Lending Center, Inc. to satisfy such claims and demands ff it is ultimately determined
that Grantor is responsible-therefor.

(b) Grantor shall not convey or transfer, or attempt to convey or transfer or permit or
suffer a conveyance or transfer of legal or equitable title to the Mortgaged Property or any part thereof
and whether such conveyance or transfer is voluntary, involuntary, by operation of law or otherwise, so
long as any part of the Aggregate Debt remains unpaid without the prior written consent of TAM Lending
Center, inc., except as permitted pursuant to the terms of the Loan Agreement.

9. Maintenance and Repair, Compliance with Laws and Regulations. Grantor shal} cause
the Mortgaged Property to-be maintained in good condition and repair, reasonable wear and tear and

casualty or condemnation loss excepted. None.of the Improvements, Equipment, or Building Equipment
shall be removed, demolished, materialiy altered, or sold (except for normal replacement of the —
Equipment and-except as may be contemplated in the Loan Agreement), without the prior written consent
of TAM Lending Center, Inc. Grantor shall promptly repair, replace or rebuild any part of the Mortgaged
Property which may be damaged or destroyed by any casualty or which may be affected by any
condemnation or eminent domain proceeding. Grantor shall promptly comply with all laws, orders,
ordinances, regulations, restrictions and requirements of governmental authorities, of courts and of
insurance companies applicable to Grantor or affecting the Mortpaged Property, or the use thereof.
Grantor also shall promptly comply with the provisions of any recorded covenants, conditions or
restrictions to which the Mortgaged Property or any part thereof may at any time be subject. Grantor

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shall not cause or allow the construction or erection of any public, municipal or utility improvements
upon the Mortgaged Property other than those required by public authorities, without the prior written
consent of TAM Lending Center, Inc.. Grantor shall not driil or extract or enter into any lease for-the
drilling for or extraction of oil, gas or other hydrocarbon substances or any mineral of any kind or
character on or from the Mortgaged Property or any part thereof without the prior written consent of
TAM Lending Center, Inc. Grantor shall not seek, make, or consent to any change in zoning or
conditions of use of the Mortgaged Property without the prior written consent of TAM Lending Center,

Inc.

10. Leases. Except as may be permitted in the Loan Agreement, Grantor shall not enter into
any lease or similar agreement for space in or on the Mortgaged Property without in each case obtaining
TAM Lending Center, Inc.’s prior written approval of all the terms and conditions thereof and, once
approved, Grantor shall not amend, modify, or cancel any such lease or similar agreement or assign any
amounts due thereunder without obtaining TAM Lending Center, Inc.’s prior written approval.

11. Required Notice. Grantor shail give TAM Lending Center, Inc. prompt written notice of
any action or proceeding purporting to affect the Mortgaged Property of whicti it has actual kriowledge
including, without limitation, the following:

(a) a material casualty to the Mortgaged Property;
(b) receipt of notice of condemnation of the Morigaged Property or any part thereof;

{c) receipt of notice from any governmental authority relating to the structure, use or
occupancy of the Mortgaged Property; or

{d} commencement of any litigation materially affecting the Morigaged Property.

TAM Lending Center, Inc. shall have the right to appear in or defend any such action or proceeding to the
same extent as Grantor, Furthermore, TAM Lending Center, Inc. shal! have.the right to bring any action
of proceeding, in the name and on behalf of itself or Grantor, which TAM Lending Center, Inc., in its
discretion, feels should be brought to protect its interest in the Mortgaged Property or any part thereof.

12. TAM Lending Center, Inc.’s Right to Cure. TAM Lending Center, Inc. shall have the
tight, but not the obligation, at TAM Lending Center, Inc.’s election and without notice to Grantor, to
cure any default by Grantor under any of the Loan Documents or under any mortgage or with respect fo
any security interest, lien or encumbrance which is senior in lien and position to this Deed of Trust. Any
payments made or expenses reasonably incurred by TAM Lending Center, Inc. in the exercise of such
right shall not release Grantor from Grantor’s obligation or constitute a waiver of Grantor’s default
hereunder. Any such payments made or expenses incurred by TAM Lending Center, Inc. shall be
repayable on demand by TAM Lending Center, Inc., together with interest thereon at the rate specified in
the Note from the date such payment was made or such expense was incurred, and the aggregate amount
thereof, including such interest, shall become part of the Aggregate Debt and shall be secured by the lien
of this Deed of Trust.

13. Certificate of No Offsets. Within ten (10) days after being requested to do so by TAM
Lending Center, Inc:, which request will be accompanied by a statement prepared by TAM Lending
Center, Inc. setting forth the then remaining unpaid amount of the Aggregate Debt, Grantor shall furnish
to TAM Lending Center, Inc. or any proposed assignee of this Deed of Trust a statement, duly executed,
acknowledged and certified by Grantor, acknowledging the remaining unpaid amount of the Aggregate
Debt and stating whether there exists any uncured defaults, offsets or defenses thereto.

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14. Right to Inspect. Grantor shall permit TAM Lending Center, Inc, and its agents to enter
and inspect the Mortgaged Property or any part thereof at all reasonable times and subject to the rights of

tenants.

is. Revenue. ‘T'ax or Other Stamps. Grantor shall pay the cost of any revenue, tax, or other
stamps (other than those relating to income) now or hereafter required by the laws of the State where the
Real Property is located or the United States to be affixed to the Note or this Deed of Trust and if any
‘taxes are imposed under the laws of the State where the Real Property is located or the United States with
respect to debts secured by a mortgage, or with respect to evidences of indebtedness so secured, Grantor
shall pay or reimburse TAM Lending Center, Inc. upon demand the amount of such taxes without credit
against any indebtedness evidenced by the Note. If Grantor does not or may not do so, TAM Lending
Center, Inc. may at its option accelerate the indebtedness evidenced by the Note to maturity as in the case
of default by Grantor:

16. Possession. Until an Event of Default shall have occurred under this Deed of Trust,
Grantor shall be permitted to retain actual possession of the Mortgaged Property, to manage, operate, use
and enjoy the same and all rights appertaining thereto, and to collect, receive, take, use, and enjoy the.
Income and Rents. The right of Grantor to collect the Income and Rents may be revoked by TAM
Lending Center, Inc. at any time and from time to time after an Event of Default has occurred. under this
Deed of Trust, by giving notice of such revocation to Grantor. Following the giving of such notice, TAM
Lending Center, Inc. may retain. and apply the Income and Rents toward payment of the Aggregate Debt
in such priority and proportions as TAM Lending Center, Inc., in its discretion, shall determine.

17. Events of Default. The occurrence of any one or more of the following evenis shall
constitute an Event of Default hereunder:

{a} Grantor shall fail to make or cause to be made any payment due to TAM Lending
Center, Inc. (and TAM Lending Center, Inc. does not receive such payment) under any Loan Document
when such payment is due and payable or shall fail to make or cause to be made any payment for utilities,
real estate taxes, or assessments referred to in this Deed of Trust or insurance premiums for the insurance
required under this Deed of Trust when such payment is due;

(b) Except as otherwise specifically provided for in-this Deed of Trust or the Loan
Agreement, Grantor shall fail to observe and perform any of the covenants or agreements on its part to be
observed of performed under this Deed of Trust or under any of the other Loan Documents within thirty
(30) days after written notice from TAM Lending Center, Inc. of such non-compliance;

{c) Any representation or warranty of Grantor under this Deed of Trust or under any
of the other Loan Documents shall be untrue in-any material respect when made;

{d) Any Event of Default shall oceur under the terms of any of the other Loan
Documents; or

fe} Except as otherwise specifically permitted under the Loan Agreement, Grantor
shail have conveyed or transferred, or attempted to convey or transfer or permit or suffer a conveyance or
transfer of legal or equitable title to the Mortgaged Property or in the ownership interest in the Grantor or
any part thereof and whether such conveyance or transfer is voluntary, involuntary, by operation of law or
otherwise, so long as any part of the Aggregate Debt remains unpaid without the prior written consent of
TAM Lending Center, Inc,.

18. Remedies. Upon the occurrence of any Event of Default:

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(a) The Aggregate Debt shall, at the option of TAM Lending Center, Inc., become
due and payable immediately without presentment, demand, notice of nonpayment, protest, notice of
protest or other notice of dishonor, all of which are hereby expressly waived by Grantor.

(b) TAM Lending Center, Inc. may institute appropriate proceedings at law or equity
to collect the amount of the Aggregate Debt then due (by acceleration or otherwise), or for specific
performance, Grantor acknowledges that all such covenants may be specifically enforced by TAM
Lending Center, Inc. by injunction or other appropriate equitable remedy), or to recover damages for any
breach thereof, or to institute an action of mortgage foreclosure against the Mortgaged Property, or take
such other action at law or in equity for the enforcement of this Deed of Trust and realization on the
mortage security or any other security herein or elsewhere provided for, and-proceed therein to final
judgment and execution for the Aggregate Debt, with interest as specified in Section 20 below, together
with. costs and expenses as specified in Section 21 below.

{c} With or without demand upon Grantor for the surrender of possession, TAM

Lending Center, Inc. may enter upon and take possession of the Mortgaged Property, without liability for
trespass, damages or otherwise and, upon so doing, TAM Lending Center, Inc. may, in its discretion and
in addition to any of its other rights, as TAM Lending Center, Inc. in possession, alter, improve, complete
or repair the Mortgaged Property (and in so doing TAM Lending Center, Inc. shall have the right to use:
the Mortgaged Property and to expend such amount for that purpose as TAM Lending Center, Inc. shall
deer best, all of which, with interest thereon at the rate specified in the Note from date of payment, shall
be repayable by Grantor on demand and shall be secured hereby), and operate, rent, sell or lease the same
in the name of Grantor or TAM Lending Center, Inc. upon such terms and conditions as TAM. Lending
Center, Inc. shall deem appropriate, and Grantor hereby irrevocably appoints TAM Lending Center, inc.

attorney-in-fact for Grantor for all such purposes.

(d) TAM Lending Center, Inc. may further, by summary proceedings, initiate an
action for possession or otherwise, dispossess any tenants, users or occupiers of the Mortgaged Property
then or thereafter in default in the payment of any rent or other charge for the use thereof, and any tenants
or other users or occupiers whose leasehold estates or rights to use the Mortgaged Properly are.
subordinate to the Hien of this Deed of Trust, whether or not any such tenant, user or occupier is.so in
default; and Grantor hereby irrevocably appoints TAM Lending Center, inc. attomey-in-fact of Grantor
for all such purposes. If Grantor remains in possession after demand by TAM Lending Center, Inc. for
surrender of possession of the Mortgaged Property, such continued possession by Grantor shall be as
tenant of TAM Lending Center, Inc., and Grantor agrees to pay monthly in advance to TAM Lending
Center, Inc. such rent for the Mortgaped Property sa occupied as TAM Lending Center, Inc. may demand,
and in default of so doing, Grantor may also be dispossessed by summary proceedings or otherwise, In
case of the appointment of a receiver of the rents, the foregoing agreement of Grantor to pay rent shall
inure to the benefit of such receiver.

{e) With or without taking possession of the Mortgaged Property, TAM Lending
Center, Inc. may collect and receive all the Income and Rents and, after deducting the cost of all
alterations, improvements, repairs, completion, partial completion, operation, sale, rental, teasing
commissions and charges, including, but not limited to, reasonable counsel fees, incurred by TAM
Lending Center, Inc., apply the net income to the sums secured hereby in such manner as TAM Lending
Center, Inc. in its discretion shall.determine. TAM Lending Center, Inc. shall be liable to account only
for the Income and Rents actually received.

® if TAM Lending Center, Inc. shall so elect, Grantor shall not resist or contest, but
shall join in any petition to any court by TAM Lending Center, Inc. for the appointment ofa receiver or
receivers-of the Mortgaged Property or any part thereof, and of all the Income and Rents therefrom, with

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such powers as the court making such appointment shall confer, and Grantor hereby appoints TAM
Lending Center, Inc. attomey-in-fact of Grantor for all such purposes. Furthermore, TAM Lending
Center, Inc. inits sole and absolute discretion may apply ex-parte to a court of competent jurisdiction for
an order appointing a renit receiver for the Mortgaged Property, without notice and without regard for the
adequacy of the security for the Loan and without regard for the solvency of Grantor, any guarantor or
indemnitor with respect to the Loan or of any person liable for the payment of the Loan. Grantor consents
to the appointment of a receiver in such circumstance and covenants and agrees that neither Grantor nor
any guarantor or indemnitor or other person liable for the payment of the Loan will contest, oppose ar
delay TAM Lending Center, Inc.’s application aforesaid. Legal fees and costs incurred by TAM Lending
Center, Inc. incident to such application shall be the responsibility of Grantor.

{z) All deposits held in connection with the rental, lease, license, or use-of space or
other facilities on the Mortgaged Property at the time of the occurrence of such Event of Default, ail
interest of Graritor in all premiums for, or dividends upon, any insurance for the Mortgaged Property, and
all refunds or rebates of taxes.and assessments upon the Mortgaged Property, are hereby assigned to TAM
Lending Center, Inc. as further security for the payment of the Aggregate Debt during the continuance of
any such Event of Default.

{h) To the extent now or hereafter permitted by law and subject to such grace periods
and notice requirements thereby imposed, TAM Lending Center, Inc. may cause a judicial sale of the
Mortgaged Property in accordance with this subsection (h). Such sale may be made without demand on
Grantor at the time and place fixed in the notice of such sale, and such sale may be of the Mortgaged
Property as a whole or in separate-lots, and in such order as TAM Lending Center, Inc. may determiine, at
public auction to the highest bidder for cash in lawful money of the United States, payable at time of sale.
Such sale of the Mortgaged Property may be postponed by public announcement at the time and place of
sale and may be further postponed from time to time thereafter by public announcement at the time fixed
by the preceding postponement. Any person or entity, including TAM Lending Center, Inc., may
purchase at such sale. After deducting ali costs, fees, and expenses of TAM Lending Center, Inc.,
including cost of evidence of title in connection with such sale, the proceeds of sale shall be applied to
payment of the Aggregate Debt. The Mortgaged Property may be sold as aforesaid either before, after, or
during the pendency of any proceedings for the enforcement of the provisions. of this Deed of Trust, and.
such power and right of sale shall not be affected by any entry hereunder, or by the exercise of any other
right, remedy or-power with respect to the enforcement of the provisions of any of the Loan Documents
or the collection of the amount of the Agzregate Debt. The provisions of this subsection (h) are not
intended to and shall not adversely affect TAM Lending Center, Inc.'s rights to conduct a non-judicial
sale of such portions of the Morigaged Property as constitute personal property.

19. Remedies Cumulative, etc.

{a) No right or remedy conferred upon or reserved to TAM Lending Center, Inc.
under any of the Loan Documents or with respect to any Collateral, or now or hereafter existing at law or
in equity or by statute or other legislative enactment, is intended to be exclusive of any other such right or

-remedy and each and every such right or remedy shall be cumiulative and concurrent, and shall be pursued
separately, concurrently,. successively or otherwise, at the sole discretion of TAM Lending Center, Inc.,
and shall not be exhausted by any one exercise thereof but may be exercised as often as occasion therefor
shail occur. No act of TAM Lending Center, Inc. shalt be deemed or construed.as an election to proceed
under any one such right or remedy to the exclusion-of any other such right or remedy; furthermore, each
such right or remedy of TAM Lending Center, inc. shal] be separate, distinct and cumulative and none
shall be given effect to the exclusion of any other. The failure to exercise or delay in exercising any such
right or remedy, or the failure to insist upon strict performance of any term of any of the Loan

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Documents, shal! not be construed asa waiver or release of the same, or of any event of default
thereunder, or of any obligation or liability of Grantor thereunder.

(b) The recovery of-any judgment by TAM Lending Center, Inc. or the jevy of
execution under any judgment upon the Mortgaged Property shall not affect in any manner, orto any
extent, the lien of this Deed of Trust upon the Mortgaged Property, or any security interest in any other
Collateral, or any rights, remedies or powers of TAM Lending Center, inc. under any of the Loan
Documents or with respect to any Collateral, but such lien and such security interest and. such rights,
temedies and powers of TAM Lending Center, Inc. shall continue unimpaired as before. Further, the
entry of any judgment by TAM Lending Center, Inc. shall not affect in any way the interest payable
hereunder or under any of the other Loan Documents on any amounts due to TAM Lending Center, Inc.,
but interest shall continue to accrue on such amounts at the Default Rate (as defined in the Note) after the
entry of any judgment and continuing until distribution of the proceeds of any Sheriff's sate.

(c) Except as otherwise provided in this Deed of Trust or in any of the other Loan
Documents, Grantor hereby waives presentment, demand, notice of nonpayment, protest, notice of protest
or other notice of dishonor, and any and all other notices in connection with any default in the payment
of, or any enforcement of the payment of, the Ageregate Debt. To the extent permitted by law, Grantor
waives the right to any stay of execution and the benefit of all exemption laws now or hereinafter in
effect.

(d) Grantor agrees that TAM Lending Center, Inc. may release, compromise, forbear
with respect fo, waive, suspend, extend or renew any. of the terms of the Loan Documents (and Grantor
hereby waives any notice of any of the foregoing), and that the Loan Documents may be amended,
supplemented or modified by TAM Lending Center, Inc. and the other signatory parties and that TAM
Lending Center, Inc. may resort to any Collateral in such order and manner as it may think fit, or accept
the assignment, substitution, exchange or pledge of any other collateral in place of, or release fer such:
consideration, or none, as it may require, all or any portion of any Collateral, without in any way affecting
the validity of its lien over or other security interest in the remainder of any such Collateral (or the
priority thereof or the position of any subordinate holder of any lien or other security interest with respect.
thereto); and any action taken by TAM Lending Center, Inc. pursuant to any of the foregoing shall in no
way be construed as a waiver or release of any right or remedy of TAM Lending Center, Inc., or of any
event of default, or of any liability or obligation of Grantor, under any of the Loan Documents.

(2) To the extent permitted by law, Grantor shall not at any time insist upon, or
plead, or in any manner whatever.claim or take any benefit or advantage of any stay or. extension or
moratorium law, or any exemption from execution or sale of the Mortgaged Property, wherever enacted,
now of at any time hereafter.in force, which may affect the covenants and terms of performance of this
Deed of Trust, nor claim, take, or insist upon any benefit or advantage of any law now or hereafter in
force providing for the valuation or appraisal of the Mortgaged Property, prior to any sale of any of
Grantor's interest thereing nor, after any such sale or sales, claim or exercise any right under any statute
heretofore or hereafter enacted to redeem the Real Property so sold or any part thereof, and Grantor
hereby expressly waives all benefit or advantage of any such law or laws, and covenants not to hinder,
delay, or impede the execution of any power herein granted to TAM Lending Center, Inc. but to suffer
and permit the execution of every power as though no such law or laws had been made or enacted.
Grantor further waives and releases.all procedural errors, defects.and imperfections in any proceeding
instituted by TAM Lending Center, Inc. under any of the Loan Documents.

(H Grantor, for itself and for all persons hereafter claiming through or under it or
who may at any time hereinafter become holders of liens junior to the lien of this Deed of Trust, hereby
expressly waives and releases all rights to direct the order.in which any of the Mortgaged Property shall

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be sold in the event of any sale or sales pursuant hereto and to have any of the Mortgaged Property and/or
any other property now or hereafter constituting security for the Aggregate Debt marshaled upon any
foreclosure of this Deed of Trust or of any other-security for any of the Aggregate Debt.

(2) Grantor agrees that any action. or proceeding against it to enforce the Deed of
Trust may be commenced in state or federal court in the county where the Mortgaged Property is located,
and Grantor waives personal service of process and agrees that a summons and complaint commencing an
action or proceeding in any such court shall be properly served and shall confer personal jurisdiction if
served by registered or certified mail in accordance with the notice provisions set forth herein.

20. Default Rate of Interest. Following the occurrence of any Event of Default and
continuing either until such Event of Default is cured and that fact acknowledged by TAM Lending
Center, Inc. or until the principal sum then outstanding under the Note and ail other sums payable under
the Loan Documents are paid in full, the principal sum outstanding under the Note shall bear interest at
the Default Rate and shall be secured by this Deed of Trust ‘and all other Collateral.

21. Costs and Expenses. Following the occurrence of any Event of Default under any of the
Loan Documents, Grantor shall pay upon demand all reasonable costs and expenses, up to the maximum
amount allowed by law (including ali amounts paid to attorneys, accountants, real estate brokers,
appraisers, and other advisors employed by TAM Lending Cenier, Inc, and to any contractors for labor
and materials), incurred by TAM Lending Center, Inc. in the exercise of any of its rights, remedies or
powers under any of the Loan Documents, or as a secured or unsecured creditor, as the case may be, of
Grantor, any general partner of Grantor, or any Guarantor (as defined in the Loan Agreement) in any state
or federal bankruptcy proceedings, or with respect to any Collateral with respect to such event of default,
and any amount thereof not paid promptly following demand therefor, together with interest thereon at the
Default Rate from the date of such. demand, shall become part of the Aggregate Debt and shall be secured
by the lien of this Deed of Trust. In connection with and as part of the foregoing, in the event that any of
the Loan Documents is placed in the hands of any attorney for the collection of any sum payable
thereunder, Grantor agrees to pay reasonable attorneys’ fees for the collection of the amount being
claimed under such Loan Documents, as well as all costs, disbursements and allowances provided by law,
and the payment of such fees and such costs, disbursements, and allowances shall also be secured by the
lien of this Deed of Trust. Nothing in this Section 21 shall limit the obligation of Grantor to pay costs and
expenses of TAM Lending Center, Inc. for which Grantor is otherwise liable under the Loan Documents.

22, Renewals and Extensions, This Deed of Trust shall secure ‘any and all renewals, or
extensions of the whole or any part-of the indebtedness hereby secured however evidenced, with interest
at such lawful rate as may be agreed upon and any such renewals or extensions or any change in the terms
or rate of interest shall not impair in. any manner the validity: of or priority of this Deed of Trust, nor
release Grantor from personal liability for the indebtedness hereby secured.

23. Severability. In the event that for any reason one or more of the provisions of this Deed
of Trust or their application to any person or circumstance shall be held to be invalid, illegal, or
unenforceable in any respect or to any extent, such provisions shall nevertheless remain valid, legal and
enforceable in all such other respects and to such extent as may be permissible. In addition, any such
invalidity, illegality, or unenforceability shall not affect any other provision of this Deed of Trust, but this
Deed of Trust shall be construed as if such invalid, iHegal or unenforceable provision had never been
contained herein.

24, Successors and Assigns: Covenant Running with the Land; This Deed of Trust inures to
the benefit of TAM Lending Center, Inc. and binds Grantor, and their respective successors and assigns,
and the words the Lender and the “Grantor” whenever occurring herein shail be deemed to include such

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respective successors and assigns. TAM Lending Center, Inc. may assign or otherwise transfer this Deed
of Trust and'any or all of the Loan Documents to any other person, and such other person shall thereupon
become vested with all of the benefits in respect thereof granted to TAM Lending Center, Inc. herein or
otherwise. Any act or agreement to be done or performed by Grantor herein shall be construed as a
covenant running with the land and shall be binding upon Grantor and its successors and assigns.

25. Notices. Any notice, demand, or request hereunder shall be in writing and shall be
deemed to have been sufficiently given for all purposes when personally presented, or sent by any
nationally recognized overnight courier to such party at its address set forth below or sent by certified or
registered mail, return receipt requested, to such party at its address set forth below:

To Grantor: Fraleg Jefferson Corp.
198 Saint James Place
Brooklyn, NY 11238
Andy Alege

with a copy to: NONE

To TAM Lending Center, Inc... TAM Lending Center, Inc.
1814 Route.70 W Suite 200 Cherry Hill, NJ 08003
Attention: Philip Valianti
Phone: 856-795-5900
Email: philvalianti@tamlending.com

with a copy to: NONE.
anda copy to: NONE

Such notice shall be deemed to be given when received if delivered personally, on the
next business day if sent by an overnight commercial courier or two days after the date mailed if sent by
certified or registered mail. Any notice of any change in such address shall also be given in the manner
set forth above. Whenever the giving of notice is required, the giving of such notice may be waived in
writing by the party entitled to receive such notice,

26. Definitions: Number and Gender. In the event Grantor consists of more than one person
or entity, the obligations and liabilities hereunder of each of such persons and entities shall be joint and
several and the word the “Grantor” shall mean all or some or any of them. For purposes of this Deed of
Trust and Security Agreement, the singular shall be deemed to include the plural and the neuter shall be
deemed to include the masculine and feminine, as the context. may réquire. The words “Loan
Agreement”, “Deed of Trust “, “Note”, and “Loan Document” shal! include any supplements to or any
amendments of or restatements of the Loan Agreement, this Deed of Trust, the Note, and any of the other
Loan Documents. The words “Real Property”, “Mortgaged Property”, “Improvements”,

“A ppurtenances”, “Equipment”, “Building Equipment”, “Intangibles”, “Awards”, “Insurance Policies”,
“Leases and Agreements”, “Income and Rents”, “Accounts Receivable”, “Securities”, “Deposits”,
“Plans” and “Proceeds” shall include any portion-of and additions to the Real Property, the Mortgaged
Property, the Improvements, the Appurtenances, the Equipment, the Building Equipment, the Intangibies,
the Awards, the Insurance Policies, the Leases and Agreements, the Incomeand Rents, the Accounts
Receivable, the Securities, the Deposits, the Plans and the Proceeds, respectively.

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27. Incorporation by Reference. All of the terms and provisions of the Note and the Loan
Agreement are hereby incorporated herein by reference.

28, Captions. The captions or headings of the sections and paragraphs of this Deed of Trust
are for convenience only and shall not control or affect the meaning or construction of any of the terms or
provisions of this Deed of Trust.

29, Governing Law. This Deed of Trust shall be governed by and construed in accordance
with the laws of the State where the Real Property is located.

30, JURY TRIAL WAIVER, GRANTOR AND TAM LENDING CENTER, INC.
HEREBY WAIVE ANY AND ALL RIGHTS THAT THEY MAY HAVE NOW OR HEREAFTER
HAVE UNDER THE LAWS OF THE UNITED STATES OF AMERICA OR ANY STATE TO A
TRIAL BY JURY OF ANY AND ALL ISSUES ARISING EITHER DIRECTLY OR
INDIRECTLY IN ANY ACTION OR PROCEEDING BETWEEN GRANTOR AND TAM
LENDING CENTER, INC. OR THEIR RESPECTIVE SUCCESSORS AND ASSIGNS, OUT OF
OR IN ANY WAY CONNECTED WITH THIS DEED OF TRUST. IT IS INTENDED THAT
THIS WAIVER OF JURY TRIAL SHALL APPLY TO ANY AND ALL CLAIMS, DEFENSES,
RIGHTS, ANIVOR COUNTERCLAIMS IN ANY ACTION OR PROCEEDING.

31. Counterparts. To facilitate execution, this Deed of Trust may be executed in.as many
counterparts as may be convenient or required. It shall not be necessary that the signatures-of, or on
behalf of, each party, or that the signature of all persons required to bind any party, appear on each
counterpart. Ail counterparts shall collectively constitute a single instrament, It shall not be necessary in
making proof of this Deed of Trust to produce or account for more than a single counterpart containing
the respective signatures of, or on behalf of, each of the parties hereto, Any signature page to any
counterpart may be detached fram sucti counterpart without impairing the legal effect of the signatures
thereon and thereafter attached to another counterpart identical thereto except having attached to it
additional signature pages.

32. Substitute Trustee. In accordance with applicable law, TAM Lending Center, Inc., at
TAM Lending Center, Inc.’s option, may from time to time, bya written instrument, appoint a successor
trustee, which instrument, when executed and acknowledged by TAM Lending Center, Inc. and recorded
in the office of the recorder of the county or counties where the Mortgaged Property is situated, shall be
conclusive proof of proper substitution of the successor trustee, The successor trustee shail, without
conveyance of the Mortgaged Property, succeed to all the title, power and duties conferred upon the
Trustee in this Deed of Trust and by-the laws of the State where the Real Property is located.

33. State-Specific Provisions.

[SIGNATURES TO FOLLOW ON NEXT PAGE]

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STANDARD DOC SET TEMPLATE —- Security Insrument

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IN WITNESS WHEREOF, Grantor has executed this Deed of Trust the day and year first
above written to be effective as of the effective date above written.

Fraleg Jefferson Corp,, a NY Cerporation

py: AA) 7

Name: Andy Alege

Its: * Member res Rant

uf

State of WY

County of Whi than

On this, the day of he +, 20 Sh before me, the undersigned officer, personally appeared

She F bold press Perit.
trody Ales Ge , Who acknowledged himself to be the Sole wtertber of

fern! leg ce Fhitsovs Corr a Limited Liability Company, and that he, as

ese
such Sole-Mearber, being authorized to do so,

executed the foregoing instrument for the purpose therein contained by signing the name of the
Limited Liability Company by himself/herself as Sole Member.

In witness whereof, I hereby set my hand.and official seals,

Notary Pubji
a Set
« Expiration dite of fot nee
Hotey Fo Fubtc, ese of Neve Voss
No, OFWE6210421
Qualified in Nassau County
Commission Expires 14/2024

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STANDARD DOC SET TEMPLATE - Securiny fustrament

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EXHIBIT A
LEGAL DESCRIPTION OF THE REAL PROPERTY
PLEASE SEE ATTACHED LEGAL DESCRIPTION

SCHEDULE OF REAL PROPERTY

15 Jefferson Avenue

Brooklyn, NY 11238

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STANDARD DC SET TEMPLATE ~ Security Instrument

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Omni Title Agency
Agent for Commonwealth Land Title Insurance Company

SCHEDULE A

ALL that certain plot, piece or parcel of land, situate, lying and being in the Borough of Brooklyn,
County of Kings, City and State of New York, bounded and described as follows:

BEGINNING ai a point on the northerly side of Jefferson Avenue, distant 143.00 feet easterly from the
northeasterly corner of Jefferson Avenue and Ormond Place, a/k/a Claver Place;

RUNNING THENCE northerly part of the distance through a party wall, 100.00 feet:
THENCE easterly parallel with Jefferson Avenue, 21.00 feet:

THENCE southerly part of the distance through a party wall, 100.00 feet to the northerly side of
Jefferson Avenue;

THENCE westerly along the northerly side of Jefferson Avenue, 21.00 feet to the point or place of
BEGINNING.

FOR INFORMATION ONLY:

Block 1995 Lot 34

